         Case 2:10-bk-50991         Doc 87 Filed 11/08/13 Entered 11/08/13 08:48:34                    Desc
                                   Ntc/Status of Case - Other Page 1 of 1
Form a0ncloth
(Rev. 10/13)

                                         United States Bankruptcy Court
                                            Southern District of Ohio
                                              170 North High Street
                                           Columbus, OH 43215−2414


In Re: Elizabeth Annette Cameron                           Case No.: 2:10−bk−50991

                Debtor(s)                                  Chapter: 13
SSN/TAX ID:
     xxx−xx−4092                                           Judge: John E. Hoffman Jr.



                                        Notice to Creditor of Status of Case

The above captioned case is deficient as follows:


   Pending Motion(s) / Application(s): Doc. 56 Motion to Approve Loan Modification
Doc. 61 Amended Motion

    Other:


Please correct any deficiency within twenty−one (21) days from the date of this notice; otherwise this case may
proceed to closing and/or may not be discharged.




Dated: November 8, 2013

                                                           FOR THE COURT:
                                                           Kenneth Jordan
                                                           Clerk, U.S. Bankruptcy Court
